43 F.3d 1478
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.In re Gerald Michael DINI;  Patricia Ann Dini, Debtors,Gerald Michael DINI;  Patricia Ann Dini, Appellants,v.AETNA CASUALTY &amp; SURETY COMPANY, Appellee.
    No. 93-15509.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 16, 1994.*Decided Dec. 12, 1994.
    
      1
      Before:  POOLE and NOONAN, Circuit Judges, HAGEN,** District Judge.
    
    
      2
      MEMORANDUM***
    
    
      3
      Chapter 7 debtors appeal a bankruptcy appellate panel's decision holding res judicata to have precluded the bankruptcy court from relitigating the question of "community liability" for a civil racketeering judgment obtained by Aetna Casualty and Surety Company ("Aetna") in Arizona court against Gerald Dini and debtors' marital community.
    
    
      4
      Aetna's state court complaint sought judgment against the separate and community property of the debtors.  Both debtors were named in the action.  Therefore, Aetna's claim to the community property was properly before the state court and was adjudicated there.  Res judicata prevents debtors from relitigating the community property claim.  See Brown v. Felsen, 442 U.S. 127, 131 (1979) (Res judicata bars litigation of claims to recovery that were available in the prior action).
    
    
      5
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a) and 9th Cir.R. 34-4
      
      
        **
         The Honorable David Warner Hagen, United States District Judge for the District of Nevada, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    